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                             UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF LOUISIANA

    Jennifer Harding, et al.,

                           Plaintiffs,
    v.

    John Bel Edwards, the Governor of the State
    of Louisiana, in his Official Capacity, et al.,

                           Defendants,                  Civil Action: 3:20-cv-495

            and

    The State of Louisiana,

                           Intervenor.




                         MOTION FOR MODIFICATION/CORRECTION

          Pursuant to the sound discretion of the Court, the State of Louisiana, by and through

Attorney General Jeff Landry, in his official capacity, and the Secretary of State Kyle Ardoin, in

his official capacity (“Defendants in Interest”), respectfully move the Court for a correction of the

Court’s order of September 15, 2020. On page 1 of the Order, Doc 89, and on page 43 of the

Ruling, Doc 88, one of the Sundays excluded from early voting is stated as “Sunday, October

17.” The third Sunday in October is in fact October 18, 2020. In the interest of preventing any

confusion among legal election officials, the State and Secretary respectfully request this

modification of the Court’s Ruling and Order.1


Dated: September 18, 2020                                        Respectfully Submitted,


1
 Counsel for the State and Secretary Ardoin have consulted with counsel for the other parties.
No party objects to the relief sought herein.
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                                 CERTIFICATE OF SERVICE

       I do hereby certify that, on this 18th day of September 2020, the foregoing was

electronically filed with the Clerk of Court using the CM/ECF system, which gives notice of filing

to all counsel of record.

                                        /s/ Jeffrey M. Wale
                                          Jeffrey M. Wale

                            Counsel for Applicant the State of Louisiana
